Case 1:15-cv-00974-RM-MEH Document 218-1 Filed 10/30/17 USDC Colorado Page 1 of 25


    
    


                    JOINT STIPULATION OF SETTLEMENT AND RELEASE

          This Joint Stipulation of Settlement and Release (“Agreement”) is entered into between

    Simply Right, Inc. (“Simply Right”), Daniel Kilgore, and Beatrice Permann (collectively,

    “Defendants”), on the one hand, and Clara Arreola, Jose Luis Arreola, Maribel Arreola, Nazario

    Arreola, Armida Raya, Domingo Sanchez, Miguel Angel Godoy, and Aurelio Sanchez (“Current

    Plaintiffs”), on behalf of themselves individually and on behalf of a collective group of similarly

    situated individuals, on the other hand.

           Defendants and the Current Plaintiffs (collectively the “Settling Parties”) agree to do all

    things and procedures reasonably necessary and appropriate to obtain approval of this Agreement

    in consideration for: (a) payment by Simply Right of the consideration expressed in this

    Agreement subject to the terms, conditions and limitations of this Agreement; (b) the release and

    dismissal with prejudice of all claims as set forth in this Agreement; and (c) other valuable

    monetary and non-monetary consideration as set forth in this Agreement. This Agreement is

    contingent upon approval by the Court and is entered into voluntarily by the Settling Parties for

    settlement purposes only.

                                                   RECITALS

           WHEREAS, on May 7, 2015, the Current Plaintiffs filed a lawsuit in the United States

    District Court for the District of Colorado, Sanchez, et al. v. Simply Right, et al., Case No. 15-cv-

    00974-RM-MEH (the “Litigation”), asserting claims against Defendants under the Fair Labor

    Standards Act (“FLSA”), 29 U.S.C. § 201 et seq., based on the alleged failure to pay minimum

    wage and/or overtime compensation to the Current Plaintiffs and others similarly situated; and




                                               Page 1 of 25
    
                                           EXHIBIT 1
Case 1:15-cv-00974-RM-MEH Document 218-1 Filed 10/30/17 USDC Colorado Page 2 of 25


       
       


              WHEREAS, the purpose of this Agreement is to settle fully and finally all Released

       Claims (as hereinafter defined) that Current Plaintiffs and any individuals who opt in to the

       Litigation may have against Defendants; and

              WHEREAS, Defendants deny that they have committed any wrongdoing or violated any

       federal, state or local laws pertaining to payment of wages, and further deny that they are liable

       or owe minimum wages or any overtime compensation to anyone with respect to the alleged

       facts or causes of action asserted in the Litigation; and

              WHEREAS, on August 31, 2017, the Settling Parties participated in a settlement

       conference of this matter with U.S. Magistrate Judge Michael E. Hegarty and reached an accord

       resulting in this Agreement; and

              WHEREAS, the Settling Parties agreed to settle and resolve any and all claims that

       could be asserted in the Litigation pursuant to the terms of this Agreement, in order to avoid the

       burden, expense, risks and uncertainty of litigation.

              NOW, THEREFORE, in consideration of the mutual covenants and promises set forth

       in this Agreement, as well as the good and valuable consideration provided for herein, and

       intending to be legally bound, the Settling Parties hereto agree to a full and complete settlement

       of the Litigation and release of claims on the following terms and conditions:

  I.          SETTLEMENT APPROVAL PROCEDURE

              A.      On or before September 30, 2017, the Settling Parties agree to file a Joint Motion

       for Approval of Settlement (“Joint Motion for Approval”), attaching this Settlement Agreement

       and the Notice of Settlement, advising the Potential Opt-In Plaintiffs (as defined below) of the

       material terms and provisions of this settlement, the procedure for submitting the Consent to Join



                                                   Page 2 of 25
       
Case 1:15-cv-00974-RM-MEH Document 218-1 Filed 10/30/17 USDC Colorado Page 3 of 25


        
        


        Claim Form, and their rights with respect to this settlement. The Joint Motion for Approval will

        seek the Court’s entry of a Preliminary Approval Order approving the notice and opt-in

        procedure set forth below and preliminarily approving this Settlement Agreement. After the

        Claim Bar Date or Remailing Opt-In Period (whichever is later) (as defined in Section II.A.,

        below), the Settling Parties will file a joint motion for final approval of the settlement.

               B.      Potential Opt-In Plaintiffs shall include those individuals who worked for Simply

        Right cleaning Cinemark movie theatres outside California, as well as any non-employees those

        individuals brought with them to help them clean, any time between September 7, 2014 and the

        date on which the Notice of Settlement is mailed.

               C.      The Settling Parties shall cooperate and present to the Court for its consideration

        in connection with the approval of the Agreement and Court-facilitated notice such information

        as may be requested by the Court for approving this Agreement and Court-facilitated notice.

  II.          MODE, CALCULATION AND TIMING OF PAYMENT OF CLAIMS

               A.      Notice of Claims

                       1.     Upon the Court’s entry of the Preliminary Approval Order, Simply Right

        shall provide the Settlement Claims Administrator with an Excel spreadsheet listing the names,

        last known addresses, and dates of employment of the Potential Opt-In Plaintiffs, as that

        information exists on file with Simply Right. Prior to the mailing of the Notice of Settlement to

        the Potential Opt-In Plaintiffs, the Settlement Claims Administrator shall attempt to confirm the

        accuracy of the addresses through the United States Post Office’s National Change of Address

        database and shall mail the Notice of Settlement to any updated address obtained therefrom.




                                                    Page 3 of 25
        
Case 1:15-cv-00974-RM-MEH Document 218-1 Filed 10/30/17 USDC Colorado Page 4 of 25


    
    


                   2.    Within one month of the Court’s entry of the Preliminary Approval Order,

    the Settlement Claims Administrator shall mail to the Potential Opt-In Plaintiffs, via First Class

    U.S. Mail, in one mailing, the Notice of Settlement in the form attached hereto as Exhibit A, in

    English and Spanish, with an enclosed, postage-paid return envelope. Also within one month of

    the Court’s entry of the Preliminary Approval Order, Simply Right shall include in the paycheck

    envelope of any Potential Opt-In Plaintiff who is a current employee who is paid by live check, a

    Notice of Settlement in the form attached hereto as Exhibit A, in English and Spanish, with an

    enclosed, postage-paid return envelope. The envelope in which the Notice of Settlement is

    mailed shall state, in English and Spanish, “Important Information Regarding Your Legal

    Rights.”   The Potential Opt-In Plaintiffs will be provided, in English and Spanish, with a

    summary of the basis for settlement in the Notice of Settlement and told that in order to receive

    any monetary proceeds of the settlement, the original, properly-executed and completed Consent

    to Join Claim Form and Release must be postmarked or received by mail, email, or facsimile by

    the Settlement Claims Administrator on or before sixty (60) days after the date the Notices of

    Settlement were initially mailed to the Potential Opt-In Plaintiffs (the “Claim Bar Date”). To the

    extent there are matters not covered in the Notice of Settlement that are covered in this

    Agreement, or to the extent the Notices of Settlement are inconsistent with this Agreement, this

    Agreement shall govern and control.

                   3.    In the event that Plaintiffs’ Counsel or the Settlement Claims Administrator

    is contacted by a Potential Opt-In Plaintiff before the Claim Bar Date and the Potential Opt-In

    Plaintiff indicates that he or she did not receive the Notice of Settlement, the Settlement Claims

    Administrator shall mail an additional Notice of Settlement to the mailing address provided by



                                              Page 4 of 25
    
Case 1:15-cv-00974-RM-MEH Document 218-1 Filed 10/30/17 USDC Colorado Page 5 of 25


    
    


    the Potential Opt-In Plaintiff and any such person shall be permitted thirty (30) days from any re-

    mailing of the Notice to submit their claim form (“Re-mailing Opt-in Period”) if such period

    exceeds the original sixty (60) day Notice period.

                   4.     In the event any Consent to Join Claim Form and Release is timely

    submitted but does not contain a signature or sufficient information to identify the Potential Opt-

    In Plaintiff, the Settlement Claims Administrator shall promptly provide the Potential Opt-In

    Plaintiff within seven (7) business days with a letter requesting the information that was not

    provided and giving the Potential Opt-In Plaintiff twenty-one (21) days from the mailing of such

    cure letter to respond if such period exceeds the original sixty (60) day Notice period. Any

    Potential Opt-In Plaintiff who fails to respond timely to a cure letter, will not be considered a

    Qualified Claimant (as defined below).

                   5.     In the event of any dispute over a Potential Opt-In Plaintiff’s dates of

    employment, eligibility to make a claim as an Opt-In Plaintiff and/or the late submission of any

    claims, the Settling Parties will meet and confer in good faith in an effort to resolve the dispute,

    and if the Settling Parties are unable to reach an agreement, they will submit the dispute to

    Magistrate Judge Hegarty for resolution. Magistrate Judge Hegarty’s decision as to any such

    dispute will be final; however, to the extent a claim is submitted late for which there is a good

    faith explanation to support the untimely submission, it will be presumed that the Settlement

    Claims Administrator and the Settling Parties will accept same. Additionally, in the case of a

    dispute over a Potential Opt-In Plaintiff’s dates of employment, Simply Right’s records shall

    control and will have a rebuttable presumption of correctness.




                                               Page 5 of 25
    
Case 1:15-cv-00974-RM-MEH Document 218-1 Filed 10/30/17 USDC Colorado Page 6 of 25


    
    


                   6.    All Potential Opt-In Plaintiffs who timely return completed and executed

    Consent to Join Claim Forms and Releases, will be considered “Qualified Claimants” entitled to

    receive their finalized share of the Net Settlement Fund (as defined in paragraph II(E)(1) below).

                   7.    Within fifteen (15) days after the Claim Bar Date or Remailing Opt-In

    Period (whichever is later), the Settlement Claims Administrator shall provide to Defendants’

    Counsel and Plaintiffs’ Counsel a list of Qualified Claimants and shall provide electronic copies

    of all timely received and completed Consent to Join Claim Forms and Releases.

                   8.    At the conclusion of the settlement administration process, the Settlement

    Claims Administrator shall maintain an electronic copy of all Consent to Join Claim Forms and

    Releases received by the Potential Opt-In Plaintiffs and shall provide the original Consent to Join

    Claim Forms and Releases to Counsel for Defendants. The Settlement Claims Administrator

    shall also provide Defendants’ Counsel and Plaintiffs’ Counsel a register listing all Qualified

    Claimants and the payment amount made to each Qualified Claimant, including the amount of

    tax withholdings and the employer’s share of payroll taxes.

           B.      Simply Right’s Payment Obligations

                   1.    Gross Fund.     In consideration for the dismissal with prejudice of the

    Litigation as well as the release of claims effected by this Agreement and other good and

    valuable consideration, Simply Right shall pay a total of Two Hundred Twenty-Five Thousand

    Dollars ($225,000.00) (the “Gross Fund”) to settle the Litigation, unless Simply Right files for

    bankruptcy prior to making all payments into the Gross Fund. Subject to the terms of this

    Agreement, the Gross Fund is inclusive of payment for: (1) all settlement amounts to be paid to

    all Qualified Claimants, or their respective authorized legal representatives; (2) all Current



                                               Page 6 of 25
    
Case 1:15-cv-00974-RM-MEH Document 218-1 Filed 10/30/17 USDC Colorado Page 7 of 25


    
    


    Plaintiff Payments (as defined in paragraph II(E)(3) below) approved by the Court; (3) all

    Attorneys’ Fees (as defined in paragraph II(E)(4) below) approved by the court for Plaintiffs’

    Counsel; (4) one-half of Settlement Administration Costs (as defined in paragraph II(C)(4)

    below) incurred by the Settlement Claims Administrator, including all costs in connection with

    the Settlement Fund (as defined in paragraph II(D)(1) below); (5) the Qualified Claimants’ share

    of applicable federal, state and local taxes required to be withheld by Simply Right; and (6) the

    Employer’s Share of Payroll Taxes (as defined below) required to be paid by Simply Right. The

    Gross Fund is the maximum amount Simply Right or Released Parties (as defined below) shall

    pay to settle the Litigation. The other half of the Settlement Administration Costs not included

    in the Gross Fund will be paid separately by the Defendants. This is a non-reversionary

    settlement.

                  2.     Timing of Payment.     Within one month of the Court’s order approving the

    Joint Motion for Approval, Simply Right will make a payment of Thirty Thousand Dollars

    ($30,000.00) (“Initial Payment”) by wire transfer to a Qualified Settlement Fund (“QSF”)

    established by the Settlement Claims Administrator (“Initial Payment Date”).        Each month

    thereafter, for the next thirteen (13) months, unless Simply Right has filed for bankruptcy,

    Simply Right will make a payment of Fifteen Thousand Dollars ($15,000.00) by wire transfer to

    the QSF. Therefore, the final payment (“Final Payment”) shall be made fourteen (14) months

    after the Court’s entry of the Preliminary Approval Order (“Final Payment Date”). In the event

    Simply Right files for bankruptcy prior to the Final Payment Date (“Bankruptcy Filing”), Simply

    Right will cease making payments under this Agreement as of the Bankruptcy Filing date, and

    payment out of the Gross Fund as funded as of the bankruptcy date will be accelerated. The



                                              Page 7 of 25
    
Case 1:15-cv-00974-RM-MEH Document 218-1 Filed 10/30/17 USDC Colorado Page 8 of 25


    
    


    Settling Parties agree to confer in the event of a Bankruptcy Filing regarding acceleration of the

    payment dates set forth in this Agreement.

           C.      Settlement Claims Administration

                   1.     Simply Right will retain JND Class Action Administration (“Settlement

    Claims Administrator”) as the settlement administrator to: (a) provide notice of the settlement to

    Potential Opt-In Plaintiffs; (b) receive and review the Consent to Join Claim Forms and Releases

    submitted by Potential Opt-In Plaintiffs to determine eligibility for payment; (c) set up and

    administer a qualified settlement fund to disburse all settlement payments; (d) calculate

    settlement amounts for each Potential Opt-In Plaintiff; (e) calculate and make all payroll tax and

    other withholdings, including the employer’s share of such taxes and withholdings; (f) distribute

    settlement checks; (g) address any questions from Potential Opt-In Plaintiffs; (h) prepare and

    mail all necessary IRS forms; and (i) perform any other duties that are necessary to effectuate the

    Agreement.

                   2.     Throughout the period of claims administration, the Settlement Claims

    Administrator will provide reports to the Settling Parties upon request by either Settling Party

    regarding the status of the mailing of the Notice of Settlement to Potential Opt-In Plaintiffs, the

    claims administration process, the receipt of Consent to Join Claim Forms and Releases, and

    distribution of the Settlement Checks or any other aspect of the claims administration process.

                   3.     The Settling Parties will cooperate to resolve any issues identified by the

    Settlement Administrator.

                   4.     One half of the fees, expenses, and costs of the Settlement Claims

    Administrator related directly or indirectly to its duties under this Agreement, including but not



                                                 Page 8 of 25
    
Case 1:15-cv-00974-RM-MEH Document 218-1 Filed 10/30/17 USDC Colorado Page 9 of 25


    
    


    limited to one-half of all fees, expenses, and costs in connection with the Gross Fund and

    Settlement Fund, and those duties related to notice, check cutting and mailing, claims processing,

    reports to counsel, court filings, legal and accounting advice relating to the establishment of the

    Qualified Settlement Fund and tax treatment and tax reporting of awards to Qualified Claimants,

    preparation of tax returns (and the taxes associated with such tax returns as defined below),

    calculating the estimated settlement payments and final settlement payment amounts, and any

    other related duties (hereinafter collectively referred to as the “Settlement Administration

    Costs”) shall be paid from the Settlement Fund after court approval. The other half of the

    Settlement Administration Costs shall be paid by Simply Right separately from the Settlement

    Fund.

            D.     Creation and Implementation of a Qualified Settlement Fund

                   1.     Establishing the Qualified Settlement Fund.       The Gross Fund will be

    deposited in an account titled Simply Right Settlement Fund (the “Settlement Fund”), intended

    by the Settling Parties to be a “Qualified Settlement Fund” as described in Section 468B of the

    Internal Revenue Code of 1986, as amended, and Treas. Reg. Section 1.468B-1, et seq. The

    Settlement Fund shall be established as a Qualified Settlement Fund within the meaning of

    Section 468B of the Internal Revenue Code of 1986, as amended, the Treas. Reg. Section

    1.468B-1, et seq., and shall be administered by the Settlement Claims Administrator, subject to

    the ultimate authority of the Court.

                   2.     Administering the Settlement Fund. The Settlement Claims Administrator

    shall serve as Trustee of the Settlement Fund and shall act as a fiduciary with respect to the

    handling, management, and distribution of the Settlement Fund, including the handling of tax-



                                               Page 9 of 25
    
Case 1:15-cv-00974-RM-MEH Document 218-1 Filed 10/30/17 USDC Colorado Page 10 of
                                      25

   
   


   related issues and payments.     The Settlement Claims Administrator shall act in a manner

   necessary to qualify the Settlement Fund as a Qualified Settlement Fund and to maintain that

   qualification. The Settling Parties shall cooperate to ensure such treatment and shall not take a

   position in any filing or before any tax authority inconsistent with such treatment. The Settling

   Parties agree to any relation-back election required to treat the Settlement Fund as a Qualified

   Settlement Fund from the earliest possible date.

                  3.    Tax Withholding and Reporting - Employment Taxes. The Settling Parties

   recognize that the back pay awards to Qualified Claimants will be subject to applicable tax

   withholding and reporting and employer payroll taxes. The Settlement Claims Administrator

   shall be responsible for withholding and timely remitting and reporting to the appropriate taxing

   authorities the employee’s share of payroll taxes from the back wage/payment of each Qualified

   Claimant and shall be responsible for paying the employer’s share of all state and federal payroll

   taxes or contributions imposed by applicable law (i.e. the employer’s share of all FICA, FUTA,

   SUTA, Medicare, and/or state unemployment taxes, collectively referred to herein as the

   “Employer’s Share of Payroll Taxes”) for the back wage payment of each Qualified Claimant (as

   described in paragraph III(B)(6) above) from the Settlement Fund, as calculated and deducted

   from the Gross Fund prior to calculation of the Current Plaintiffs’ and Qualified Claimants’

   individual settlement payment amounts.       Subject to the Settlement Claims Administrator’s

   obligation to comply with applicable laws, the Settling Parties anticipate that any amounts

   designated as liquidated damages or interest shall not be subject to withholding and shall be

   reported to the IRS on Form 1099.




                                             Page 10 of 25
   
Case 1:15-cv-00974-RM-MEH Document 218-1 Filed 10/30/17 USDC Colorado Page 11 of
                                      25

   
   


                  4.     Other    Payments     and      Indemnification.   The    Settlement   Claims

   Administrator shall satisfy from the Settlement Fund: all federal, state, local, and other reporting

   requirements (including any applicable reporting with respect to attorneys’ fees and other costs

   subject to reporting) and any and all taxes, penalties and other obligations with respect to the

   payments or distributions not otherwise addressed in this Agreement. The Settlement Claims

   Administrator shall indemnify the Settling Parties for any penalty or interest arising out of an

   incorrect calculation or late deposit of the same.

                  5.     Communication with Simply Right and Counsel. Simply Right, Simply

   Right’s Counsel, and Plaintiffs’ Counsel are authorized to communicate directly with the

   Settlement Claims Administrator to expedite the settlement administration process.

          E.      Allocation of the Settlement Fund

                  1.     Net Settlement Fund. The “Net Settlement Fund” means the remainder of

   the Gross Fund after deductions for: (i) the Current Plaintiff Payments awarded by the Court; (ii)

   Attorneys’ Fees awarded by the Court; and (iii) one-half of the Settlement Administration Costs.

                  2.     Allocation of Net Settlement Fund to Qualified Claimants.

               a) The Net Settlement Fund shall be allocated to the Qualified Claimants on a pro

                  rata basis based on the total number of Qualifying Work Weeks for each

                  Qualified Claimant during the time period covered by this Agreement.               A

                  “Qualifying Work Week” is a work week in which a Qualified Claimant worked

                  for Simply Right cleaning a Cinemark theater outside California, or helped a

                  Simply Right employee or independent contractor clean a Cinemark theater

                  during the time covered by this Agreement. This formula shall be employed by



                                              Page 11 of 25
   
Case 1:15-cv-00974-RM-MEH Document 218-1 Filed 10/30/17 USDC Colorado Page 12 of
                                      25

   
   


                  the Settlement Administrator whether very few or very many Potential Opt-In

                  Plaintiffs submit Claim Forms.

              b) Simply Right’s records will be used to determine the number of Qualifying Work

                  Weeks for those Qualified Claimants for which Simply Right has records of

                  paying.

              c) For Qualified Claimants Simply Right has no record of paying, Qualifying Work

                  Weeks will be the lesser of: (1) the number of Qualifying Work Weeks the

                  Qualified Claimant claims on the claim form; or (2) the number of Qualifying

                  Work Weeks of the Simply Right employee or independent contractor who

                  brought the Qualified Claimant to work as a helper.

                  3.     Current Plaintiff Payments. Thirty-three percent (33%) of the Gross Fund

   shall be allocated to Current Plaintiffs (“Current Plaintiff Fund”). Current Plaintiffs shall not

   participate in the claims process for Qualified Claimants and shall be paid only from the Current

   Plaintiff Fund as stated in this paragraph. The Settlement Claims Administrator shall calculate

   the individual settlement payment amounts for the Current Plaintiffs as follows:

                       a) Seventeen percent (17%) of the Current Plaintiff Fund to Jose Luis

                            Arreola;

                       b) Seventeen percent (17%) of the Current Plaintiff Fund to Clara Arreola;

                       c) Sixteen percent (16%) of the Current Plaintiff Fund to Aurelio Sanchez;

                       d) Sixteen percent (16%) of the Current Plaintiff Fund to Domingo Sanchez;

                       e) Eleven percent (11%) of the Current Plaintiff Fund to Miguel Angel

                            Godoy;

                       f) Eleven percent (11%) of the Current Plaintiff Fund to Armida Raya;



                                             Page 12 of 25
   
Case 1:15-cv-00974-RM-MEH Document 218-1 Filed 10/30/17 USDC Colorado Page 13 of
                                      25

   
   



                       g) Six percent (6%) of the Current Plaintiff Fund to Nazario Arreola;

                       h) Six percent (6%) of the Current Plaintiff Fund to Maribel Arreola.

   These payments will be distributed by the Settlement Claims Administrator in two payments, the

   first occurring within ten (10) days after the Initial Payment Date, and the second occurring

   within ten (10) days after the Final Payment Date.

                  4.     Attorneys’ Fees. Plaintiffs’ Counsel shall make an application to the Court

   for an award of attorneys’ fees in the amount of twenty-two percent (22%) of the Gross Fund

   (the “Attorneys’ Fees”).     Simply Right will not oppose Plaintiffs’ Counsel’s motion for

   Attorneys’ Fees. The settlement is not conditioned upon the Court’s approval of Plaintiffs’

   Counsel’s petition for Attorneys’ Fees in the stated amounts, and any amounts that are not

   approved for attorneys’ fees shall become part of the Net Settlement Fund. Payment of such

   approved attorneys’ fees to Plaintiffs’ Counsel shall be made in accordance with this Agreement

   and shall constitute full satisfaction of any and all obligations by Defendants to pay any person,

   attorney or law firm for attorneys’ fees, expenses or costs incurred on behalf of the Current

   Plaintiffs, any Potential Opt-In Plaintiffs, and any Qualified Claimants. The Settlement Claims

   Administrator shall report the payment of these fees to Plaintiffs’ Counsel on an IRS Form 1099.

   Within ten (10) days after the later of: (a) the Final Payment Date, or (b) the date the Court has

   approved an award of fees to Plaintiffs’ Counsel, the Settlement Claims Administrator shall pay

   to Plaintiffs’ Counsel by wire transfer the amount of Attorneys’ Fees approved and ordered by

   the Court.

          F.      Payments to Qualified Claimants




                                             Page 13 of 25
   
Case 1:15-cv-00974-RM-MEH Document 218-1 Filed 10/30/17 USDC Colorado Page 14 of
                                      25

   
   


                 1.     Timing of Payments. Within thirty (30) days after the Claim Bar Date or

   Remailing Opt-In Period (whichever is later), the Settlement Claims Administrator will calculate

   the settlement awards for the Qualified Claimants (“Individual Settlement Payment”) and shall

   provide a copy of such calculations to Plaintiffs’ Counsel and Defendants’ Counsel.         The

   Settlement Claims Administrator will transmit the Individual Settlement Payments to the

   Qualified Claimants by first-class U.S. Mail to the last known address for each Qualified

   Claimant, or such other address provided by the Qualified Claimant to the Settlement Claims

   Administrator, within ten (10) days after the Final Payment Date, in accordance with the

   withholding and reporting requirements set forth below.

                 2.     Taxes on the Current Plaintiff Payments and Individual Settlement

   Payments. The Current Plaintiff Payments attributed to the Current Plaintiffs and the Individual

   Settlement Payments attributed to the Potential Opt-In Plaintiffs who timely submit Consent to

   Join Claim Forms and Releases and become Qualified Claimants shall be allocated 50% to back

   wages and 50% to liquidated damages and interest. The back wages shall be subject to all

   required employee-paid payroll taxes (federal income taxes, state income taxes, employee’s

   share of FICA and FUTA taxes, and other state or local-specific statutory deductions) and other

   authorized or required deductions (garnishments, tax liens, child support, etc.). The liquidated

   damages and interest and shall be treated as non-wage income to the Current Plaintiffs and

   Qualified Claimants. The Settlement Claims Administrator shall report the back wage payments

   to the Internal Revenue Service (“IRS”) on IRS Form W-2 and shall report the liquidated

   damages and interest on IRS Form 1099.




                                            Page 14 of 25
   
Case 1:15-cv-00974-RM-MEH Document 218-1 Filed 10/30/17 USDC Colorado Page 15 of
                                      25

   
   


                 3.     Tax Advice. Current Plaintiffs acknowledge and agree that they have not

   relied upon any advice from Simply Right or Plaintiffs’ Counsel as to the taxability of the

   payments received pursuant to this Agreement.

                 4.     Negotiation of Settlement Checks.        Current Plaintiffs and Qualified

   Claimants will have one hundred twenty (120) days after the date on the settlement checks (the

   "Check Issuance Date") in which to negotiate the checks. If any Current Plaintiff or Qualified

   Claimant does not negotiate his or her settlement check within 120 days after the Check Issuance

   Date, the check will be void and the gross amount of the Individual Settlement Payment shall be

   returned to the Settlement Claims Administrator. If more than five percent (5%) of the Gross

   Fund is returned to the Settlement Claims Administrator, the Settlement Claims Administrator

   shall perform a second calculation of settlement awards to Qualified Claimants using the same

   methodology as the original calculation and shall issue a second set of Individual Damages

   Payments to those Qualified Claimants who negotiated their settlement checks. If five percent

   (5%) or less of the Gross Fund is returned to the Settlement Administrator, that amount shall be

   paid as an award to cy pres beneficiary El Centro Humanitario de los Trabajadores.

                 5.      In the event that no Potential Opt-In Plaintiffs timely return Claim Forms,

   the Settlement Claims Administrator shall perform a second calculation of settlement awards to

   Current Plaintiffs using the same methodology as the original calculation and shall issue a

   second set of Individual Damages Payments to Current Plaintiffs.




                                            Page 15 of 25
   
Case 1:15-cv-00974-RM-MEH Document 218-1 Filed 10/30/17 USDC Colorado Page 16 of
                                      25

      
      


III.         DISMISSAL OF LAWSUIT

                      Following the Court’s final approval of the settlement, the Settling Parties will

      file a joint motion for dismissal of the Lawsuit. This motion will be filed within ten (10) days

      after the Court’s final approval of the settlement or as otherwise directed by the Court.

IV.          RELEASE

             A.      Release By Qualified Claimants. Conditioned upon the Court’s entry of the

      Preliminary Approval Order, and in exchange for the monetary consideration recited in this

      Agreement, the Current Plaintiffs, and all Qualified Claimants who timely execute and return a

      Consent to Join Claim Form and Release, shall waive, release and forever discharge Simply

      Right, Cinemark USA, Inc., Daniel Kilgore, and Beatrice Permann, including their parents,

      subsidiaries, affiliates, predecessors, successors and assigns, and each of their respective past and

      present officers, directors, agents, representatives, attorneys and employees (collectively, the

      “Released Parties”) from any and all minimum wage and overtime claims, and related claims for

      penalties, interest, liquidated damages, attorneys’ fees, costs, and expenses, under federal and

      applicable state and local law that arise from their cleaning of Cinemark theatres outside

      California through the date of mailing of the Notice of Settlement, relating back to the full extent

      of the federal and state statutes of limitations (“Released Claims”).

             B.      General Release By Current Plaintiffs. Current Plaintiffs who receive a Current

      Plaintiff Payment will additionally release, on behalf of themselves and their heirs, executors and

      assigns, the Released Parties from any and all claims, demands, liabilities, debts, judgments,

      damages, expenses, administrative actions, causes of action or suits of any kind for or by reason

      of any matter, cause, or thing whatsoever, whether for tort, breach of express or implied



                                                 Page 16 of 25
      
Case 1:15-cv-00974-RM-MEH Document 218-1 Filed 10/30/17 USDC Colorado Page 17 of
                                      25

   
   


   employment contract, unjust dismissal, wrongful termination or under any federal, state, or local

   law dealing with discrimination or retaliation based on age, race, sex, national origin, religion,

   disability, or any other protected class and including any and all claims for incidental or

   consequential damages, expenses incurred, litigation expenses, court costs, attorney fees, tort or

   contractual damages of any kind, and any and all other damages or statutory sums whatsoever,

   known or unknown, compensatory or punitive, which arose out of or are connected in any way,

   directly or indirectly, with any and all claims the Current Plaintiff has now, may have or may

   have had against the Released Parties through and including the date of execution of this

   Settlement Agreement. This General Release of all claims includes, but is not limited to, all

   claims arising under Title VII of the Civil Rights Act of 1964, the Age Discrimination in

   Employment Act of 1967, the Americans with Disabilities Act, the Family and Medical Leave

   Act, and the Fair Labor Standards Act, each as has been or may be amended from time to time,

   and any other federal, state, or local laws, the common law, and any other rules or regulations

   governing the relationship between an employer and employee.

          C.      Effect of Simply Right Bankruptcy on Release. In the event that Simply Right

   files for bankruptcy prior to the Final Payment, the releases set forth in this Agreement shall not

   affect the right of Current Plaintiffs and/or Qualified Claimants to pursue such payments from

   Simply Right through the bankruptcy court. If Simply Right files for bankruptcy after the Initial

   Payment but before the Final Payment, the release of claims as to the other Released Parties shall

   remain in full force and effect, and the Current Plaintiffs and Qualified Claimants shall have no

   right to any monetary recovery from the other Released Parties. However, if Simply Right files

   for bankruptcy before making the Initial Payment, this Agreement shall not affect the Current



                                             Page 17 of 25
   
Case 1:15-cv-00974-RM-MEH Document 218-1 Filed 10/30/17 USDC Colorado Page 18 of
                                      25

       
       


       Plaintiffs’ and/or Qualified Plaintiffs’ right to seek to enforce this Agreement against Daniel

       Kilgore and Beatrice Permann.

 V.           NOTICES

              All notices, requests, demands and other communications required or permitted to be

       given pursuant to this Agreement shall be in writing and shall be delivered personally or mailed,

       postage prepaid, by first-class mail to the undersigned persons at their respective addresses as set

       forth herein:


       Counsel for Plaintiffs:                       Brandt Milstein, Esq.
                                                     Milstein Law Office
                                                     1123 Spruce Street
                                                     Boulder, CO 80302
                                                     Tel: 303.440.8780
                                                     Fax: 303.957.5754


       Counsel for Simply Right:                  Joshua B. Kirkpatrick, Esq.
                                                     Littler Mendelson, P.C.
                                                     1900 16th St., Suite 800
                                                     Denver, CO 80202
                                                     Tel: 303.629.6200
                                                     Fax: 303.629.0200
                                                            
VI.           REPRESENTATION BY COUNSEL

              All of the Settling Parties acknowledge that they have been represented by counsel

       throughout all negotiations that preceded the execution of this Agreement and that this

       Agreement has been executed with the consent and advice of counsel.

VII.          NO ADMISSION OF LIABILITY

              Defendants enter into this Agreement to avoid further expense and disruption to Simply

       Right’s business. The Settling Parties acknowledge and agree that liability for the actions that



                                                 Page 18 of 25
       
Case 1:15-cv-00974-RM-MEH Document 218-1 Filed 10/30/17 USDC Colorado Page 19 of
                                      25

        
        


        are the subject matter of this Agreement are denied and disputed by Defendants.                 This

        Agreement and the settlement are a compromise and shall not be construed as an admission of

        liability at any time or for any purpose, under any circumstances, by the Settling Parties to this

        Agreement. The Settling Parties further acknowledge and agree that this Agreement and the

        settlement shall not be used to suggest an admission of liability in any dispute the Settling Parties

        may have now or in the future with respect to any person or entity. Neither this Agreement nor

        anything herein, nor any part of the negotiations had in connection herewith, shall constitute

        evidence with respect to any issue or dispute other than for purposes of enforcing this

        Agreement.

VIII.          MODIFICATION OF AGREEMENT

               This Agreement may not be modified or amended except in writing, signed by the

        affected Settling Parties or the respective counsel of record for the Settling Parties and as

        approved by the Court.

 IX.           CONSTRUCTION AND INTERPRETATION

               A.      Entire Agreement. This Agreement constitutes the entire agreement between the

        Settling Parties with respect to the subject matter contained herein and shall supersede all prior

        and contemporaneous negotiations between the parties.

               This Agreement shall be construed as a whole according to its fair meaning and intent,

        and not strictly for or against any party, regardless of who drafted or who was principally

        responsible for drafting this Agreement, or any specific term or condition thereof. The Current

        Plaintiffs and Defendants participated in the negotiation and drafting of this Agreement and had

        available to them the advice and assistance of independent counsel. As such, neither the Current



                                                   Page 19 of 25
        
Case 1:15-cv-00974-RM-MEH Document 218-1 Filed 10/30/17 USDC Colorado Page 20 of
                                      25

      
      


      Plaintiffs nor Defendants may claim that any ambiguity in this Agreement should be construed

      against the other.

             B.      No Reliance on Representations or Extrinsic Evidence.          Except as expressly

      provided herein, this Agreement has not been executed in reliance upon any other oral or written

      representations or terms, and no such extrinsic oral or written representations or terms shall

      modify, vary or contradict its terms. In entering into this Agreement, the Settling Parties agree

      that this Agreement is to be construed according to its terms and may not be varied or

      contradicted by extrinsic evidence.

             C.      Controlling Law. This Agreement shall be subject to, governed by, construed,

      enforced and administered in accordance with the laws of the State of Colorado, both in its

      procedural and substantive aspects, and without regard for the principle of conflict of laws, and

      shall be subject to the continuing jurisdiction of the United States District Court for the District

      of Colorado.

             D.      Severability. If any provision of this Agreement is held by a court of competent

      jurisdiction to be void, voidable, unlawful or unenforceable, except the Release, the remaining

      portions of this Agreement will remain in full force and effect to the extent that the effect of the

      Agreement remains materially the same and the obligations of the Settling Parties remain

      materially the same.

 X.          COUNTERPARTS

             This Agreement, any amendments or modifications to it, and any other documents

      required or contemplated to be executed in order to consummate this Agreement, may be

      executed in one or more counterparts, each of which shall be deemed an original of this



                                                Page 20 of 25
      
Case 1:15-cv-00974-RM-MEH Document 218-1 Filed 10/30/17 USDC Colorado Page 21 of
                                      25

       
       


       Agreement. All counterparts of any such document together shall constitute one and the same

       instrument.   A photocopy, facsimile, or digital image of an executed counterpart shall be

       enforceable and admissible as an original.

XI.           BINDING EFFECT

              This Agreement is binding upon and shall inure to the benefit of the Settling Parties to

       this Agreement. Without limiting the foregoing, this Agreement specifically shall inure to the

       benefit of Simply Right as well as its present and former owners, stockholders, predecessors,

       successors, joint ventures, assigns, agents, directors, officers, board members, employees,

       representatives, insurers, attorneys, parents, subsidiaries, affiliated divisions and companies, and

       all persons acting by, through, under or in concert with any of them. Also without limiting the

       foregoing, this Agreement shall be binding upon and inure to the benefit of the heirs, assigns,

       administrators, executors, beneficiaries, conservators, and successors of all Current Plaintiffs and

       Qualified Claimants.

XII.          ATTORNEY FEES, COSTS AND EXPENSES

              Except as otherwise specifically provided herein, the Settling Parties and all Qualified

       Claimants shall bear responsibility for their own attorneys’ fees, costs and expenses, taxable or

       otherwise, incurred by them or arising out of this litigation and shall not seek reimbursement

       thereof from any party to this Agreement. However, in the event of any dispute to enforce the

       terms of this Agreement, the prevailing party shall be entitled to an award of their reasonable

       attorneys’ fees and costs from the non-prevailing party.




                                                 Page 21 of 25
       
Case 1:15-cv-00974-RM-MEH Document 218-1 Filed 10/30/17 USDC Colorado Page 22 of
                                      25

        
        


XIII.          AUTHORITY OF COUNSEL

               A.      Facsimile, Electronic, and Email Signatures. Any Settling Party may execute this

        Agreement by signing or by causing its counsel to sign on the designated signature block below

        and transmitting that signature page via facsimile, email, or other electronic means to counsel for

        the other Settling Party. Any signature made and transmitted by facsimile, email, or other

        electronic means for the purpose of executing this Agreement shall be deemed an original

        signature for purposes of this Agreement and shall be binding upon the Settling Party whose

        counsel transmits the signature page by facsimile or email.

               B.      Voluntary Signature.       All Settling Parties agree that they have signed this

        Agreement, or authorized their counsel to sign this Agreement on their behalf, knowingly,

        voluntarily, with full knowledge of its significance, and without coercion.

               C.      Warranty of Counsel.       Plaintiffs’ Counsel warrants and represents that he is

        expressly authorized by the Current Plaintiffs to take all appropriate action required or permitted

        to be taken pursuant to this Agreement in order to effectuate its terms. Defendants’ Counsel

        warrant and represent that they are authorized to take all appropriate action required or permitted

        to be taken by Simply Right pursuant to this Agreement in order to effectuate its terms.

XIV.           CONTINUING JURISDICTION

               The Parties hereto agree to move for the United States District Court for the District of

        Colorado to retain continuing jurisdiction to construe, interpret and enforce the provisions of this

        Agreement; to supervise the administration and distribution of the resulting settlement funds; and

        to hear and adjudicate any dispute or litigation arising from or related to this Agreement or the

        issues of law and facts asserted in the collective action litigation.



                                                    Page 22 of 25
        
Case 1:15-cv-00974-RM-MEH Document 218-1 Filed 10/30/17 USDC Colorado Page 23 of
                                      25

      
      


XV.          EFFECT OF NON-APPROVAL

             In the event that the Agreement is not approved by the Court for any reason in the form

      submitted by the Settling Parties, the Settling Parties will attempt to address any concerns raised

      by the Court and resubmit a revised settlement agreement if possible. If the Settling Parties

      cannot agree on a revised settlement agreement or if the Court denies the approval of a

      renegotiated settlement agreement, this Agreement or the re-negotiated agreement shall be

      terminated as of the date the Court’s order denying approval of the Agreement or renegotiated

      agreement was entered. Upon termination of this Agreement or any renegotiated agreement:

      (A) This Agreement and, if applicable, the renegotiated agreement shall have no force or effect

      and no Settling Party shall be bound by any of its terms; and (B) nothing in this Agreement shall

      be used or construed by or against any party as a determination, admission, or concession of any

      issue of law or fact in the litigation; and the Settling Parties do not waive, and instead expressly

      reserve, their respective rights with respect to the prosecution and defense of the litigation.

             IN WITNESS WHEREOF, the undersigned have duly executed this Agreement as of the

      date indicated below:




                                               SIMPLY RIGHT, INC.
      DATED: _________________
                                               By: ____________________________________

                                               Its: ____________________________________


                                               DANIEL KILGORE
      DATED: _________________
                                               ________________________________________




                                                 Page 23 of 25
      
Case 1:15-cv-00974-RM-MEH Document 218-1 Filed 10/30/17 USDC Colorado Page 24 of
                                      25

   
   




                                 BEATRICE PERMANN
   DATED: _________________
                                 ________________________________________

   
   
   
   
                                 CLARA ARREOLA:
   DATED: _________________

                                 ________________________________________
                                 
                                 JOSE LUIS ARREOLA:
   DATED: _________________

                                 ________________________________________
                                 
                                 MARIBEL ARREOLA:
   DATED: _________________

                                 ________________________________________
                                 
                                 NAZARIO ARREOLA:
   DATED: _________________

                                 ________________________________________
                                 
                                 ARMIDA RAYA:
   DATED: _________________

                                 ________________________________________
                                 
                                 DOMINGO SANCHEZ:
   DATED: _________________

                                 ________________________________________
                                 
                                 MIGUEL ANGEL GODOY:
   DATED: _________________

                                 ________________________________________
                                 




                                   Page 24 of 25
   
Case 1:15-cv-00974-RM-MEH Document 218-1 Filed 10/30/17 USDC Colorado Page 25 of
                                      25

   
   


                                        AURELIO SANCHEZ:
   DATED: _________________

                                        ________________________________________
                                        
   
   
   
   Firmwide:149999132.6084744.1001




                                          Page 25 of 25
   
